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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530

                                                    July 26, 2021

Anthony Colton
Supervisory Assistant Federal Defender
Office of the Federal Public Defender for the Western District of Texas
200 East Wall Street, Suite 110
Midland, TX 79701

       Re:      United States v. Luke Coffee
                Case No. 21-cr-327

Dear Counsel:

        Enclosed as preliminary discovery in this case are files available on USAFx, consisting of
the following materials:

   •   File folder named US v. Luke Coffee. This folder includes a total of 65 files. This folder
       contains one subfolder, named Highly Sensitive, which contains the following files that
       are Highly Sensitive pursuant to the terms of the Protective Order

                   File Name
                   FBI_APO_investigation-Agent_Johannes-
                   BWC_of_Moore__C (1)
                   COFFEE -
                   0074USCHBALowerWTerraceDoorExterior_2021-01-
                   06_16h15min38s597ms (1)
                   FBI_APO_investigation-Agent_Johannes-
                   BWC_of_Sajumon__S (1)
                   Clip_1_for_FBI_APO_investigation__Agent_Johannes_
                   (1)
                   COFFEE -
                   0074USCHBALowerWTerraceDoorExterior_2021-01-
                   06_16h15min38s597ms
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                   FBI_APO_investigation-Agent_Johannes-
                   BWC_of_Sajumon__S
                   FBI_APO_investigation-Agent_Johannes-
                   BWC_of_Moore__C
                   Clip_1_for_FBI_APO_investigation__Agent_Johannes_
                   FBI_APO_investigation__Agent_Johannes_

This folder also contains the following files.

           File Name
           266H-DL-3382725_0000038_1A0000008_0000003
           266H-DL-3382725_0000038_1A0000008_0000002
           266H-DL-3382725_0000038_1A0000008_0000001
           266H-DL-3382725_0000038_1A0000008_0000006
           266H-DL-3382725_0000038_1A0000008_0000005
           266H-DL-3382725_0000038_1A0000008_0000004
           266H-DL-3382725_0000038
           266H-DL-3382725_0000050
           266H-DL-3382725_0000043
           266H-DL-3382725_0000055
           266H-DL-3382725_0000059
           266H-DL-3382725_0000060
           266H-DL-3382725_0000058
           266H-DL-3382725_0000063
           266H-DL-3382725_0000061
           266H-DL-3382725_0000051
           266H-DL-3382725_0000022_1A0000017_0000001
           266H-DL-3382725_0000005
           266H-DL-3382725_0000022_1A0000017_0000002
           266H-DL-3382725_0000002
           266H-DL-3382725_0000006
           266H-DL-3382725_0000022_1A0000017_0000003
           266H-DL-3382725_0000024_1A0000002_0000001_PHYSICAL
           266H-DL-3382725_0000022_1A0000017_0000005
           266H-DL-3382725_0000022
           266H-DL-3382725_0000028
           266H-DL-3382725_0000022_1A0000017_0000004
           266H-DL-3382725_0000029_1A0000006_0000001_PHYSICAL
           266H-DL-3382725_0000029
           266H-DL-3382725_0000024

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           266H-DL-3382725_0000030_Import
           266H-DL-3382725_0000028_1A0000003_0000001
           266H-DL-3382725_0000029_1A0000005_0000001
           266H-DL-3382725_0000028_1A0000004_0000001
           266H-DL-3382725_0000030
           266H-DL-3382725_0000032
           266H-DL-3382725_0000034
           266H-DL-3382725_0000033
           266H-DL-3382725_0000034_1A0000007_0000006
           266H-DL-3382725_0000034_1A0000007_0000001
           266H-DL-3382725_0000034_1A0000007_0000007
           266H-DL-3382725_0000034_1A0000007_0000005
           266H-DL-3382725_0000034_1A0000007_0000004
           266H-DL-3382725_0000034_1A0000007_0000002
           266H-DL-3382725_0000034_1A0000007_0000003
           FULL FOOTAGE Patriots STORM U.S. Capitol (4K60fps) (1)
           capitol_police_officer_dragged_and_beaten_to_death__00_00___00_35_
           (1)
           LUKE COFFEE (BOLO 108)
           3_CNN_video
           1_Capture
           2_Capture_2
           Instagram Coffee.TalkTV
           Facebook Luke Coffee
           Instagram Lukewarm Coffee
           FULL FOOTAGE Patriots STORM U.S. Capitol (4K60fps)
           capitol_police_officer_dragged_and_beaten_to_death__00_00___00_35_

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       This material is subject to the terms of the Protective Order issued in this case.

       I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes


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to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant provide the government with the appropriate written notice if defendant
plans to use one of the defenses referenced in those rules. Please provide any notice within the
time period required by the Rules or allowed by the Court for the filing of any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,

                                                             /s/

                                                     Peter Lallas
                                                     Assistant United States Attorney




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